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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                      Honorable Marcia S. Krieger

  Civil Action No. 06-cv-02318-MSK-MJW

  ABRAHAM J. OSMAN, and
  DOROTHY K. OSMAN,

                    Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA,

              Defendant.
  ____________________________________________________________________________

                         ORDER VACATING TRIAL DATE
  _____________________________________________________________________________

          Due to extensive calendar disruptions occasioned by multi-week, multi-defendant criminal

  trials during 2006, 2007 and 2008, and upon consideration of the Court’s 2007 pilot project and

  survey by the Faculty of Federal Advocates, the Court is changing its civil trial-setting practices.

  No longer will civil trials be set at the time of the initial Scheduling Conference. Instead, civil

  trials will be set at the time of the Final Pretrial Conference. Except in extraordinary

  circumstances, the trial setting will be a firm setting, not subject to vacatur due to other civil or

  criminal cases.

          It is the Court’s goal to set trials within 30-60 days. Counsel should bring their calendars

  to the Final Pre-Trial Conference and be aware of the availability of critical witnesses during the

  six month period. There will be some flexibility in accommodating other matters on the calendars

  of counsel, parties, and witnesses, but the Court expects that all involved will give trial of this

  case top priority and will be prepared to adjust their other obligations, including the participation
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  of multiple counsel representing a single party, in order to meet the time frames described above.



         IT IS THEREFORE ORDERED that the trial date currently set in this case is

  VACATED. It will be reset at the Final Pre-Trial Conference which will occur as scheduled.

         DATED this 16th day of November, 2007.

                                                       BY THE COURT:




                                                       Marcia S. Krieger
                                                       United States District Judge
